 1                                                                   The Honorable Ronald B. Leighton
                                                                          United States District Judge
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                                    UNITED STATES DISTRICT COURT
 8                                 WESTERN DISTRICT OF WASHINGTON
                                             AT TACOMA
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     JUDITH COX and CHARLES COX individually                 NO. 14-05923RBL
     and as Personal Representatives of the Estates of
10
     C.J.P. and B.T.P.,
                                                             DECLARATION OF EVAN BARIAULT
11
                     Plaintiffs,                             IN SUPPORT OF PLAINTIFFS’
                                                             MOTION FOR PARTIAL SUMMARY
12
              v.                                             JUDGMENT TO STRIKE
                                                             DEFENDANTS’ AFFIRMATIVE
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                                                             DEFENSES NOS. 1, 2, 3, 4, 10, 11 & 12.
     STATE OF WASHINGTON, DEPARTMENT
14   OF SOCIAL AND HEALTH SERVICES,
     FOREST JACOBSON, ROCKY
15   STEPHENSON, JANE WILSON, and BILLIE
     REED-LYYSKI,
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                     Defendants.
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              I, Evan Bariault, hereby declare as follows:
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              1.     I am an attorney of record for plaintiffs. I make this declaration based on personal
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     knowledge and am competent to testify to the matters contained herein.
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              2.     Attached hereto as exhibits are true and correct copies of the following:
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22            Exhibit 1 –    DSHS Intake Forms/Documents (PLA 000014-16; 000019-21; 000024-26;
                             000029-31).
23   DECLARATION OF EVAN BARIAULT IN                                        Frey buck, p.s.
     SUPPORT OF PLAINTIFFS’ MOTION FOR                                   1200 FIFTH AVENUE, SUITE 1900
24   PARTIAL SUMMARY JUDGMENT - 1                                              SEATTLE, WA 98101
     {00145725;1}                                                       P: (206) 486-8000 F: (206) 902-9660
 1            Exhibit 2 –   Note entered by Julie Slaughter on June 28, 2011 (Cox 01010041).

 2            Exhibit 3 –   DSHS Intake Form/Documents (PLA 000034-38).

 3            Exhibit 4 –   Administrative Report of Incident (Pages 1-4)

 4            Exhibit 5 –   Note entered by Rocky Stephenson (Cox 01010058).

 5            Exhibit 6 –   Excerpts from the Deposition of Rocky Stephenson.

 6            Exhibit 7 –   Notes regarding initial visit with Powell children after removal from Steven
                            Powell’s residence. (Cox 01010059-66).
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              Exhibit 8 –   Excerpts from the Deposition of Billie Reed-Lyyski.
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              Exhibit 9 –   Declaration of Detective Gary Sanders dated August 4, 2014.
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              Exhibit 10 – Declaration of Detective Teresa Berg dated August 27, 2014.
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              Exhibit 11 – Excerpts from the Deposition of John Long.
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              Exhibit 12 – Excerpts from the Deposition of Betsy Rodgers.
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              Exhibit 13 – Visiting Plans dated September 27, 2011 and December 29, 2011. (PLA
13                         000280-284; Cox 06020257-261).

14            Exhibit 14 – DSHS Parent-Child-Sibling Visiting Policy. (Cox 01130441-444).

15            Exhibit 15 – DSHS Social Worker Practice Guide – Visits Between Parent[s], Child[ren]
                           and Siblings. (Cox 01160001-015).
16
              Exhibit 16 – Excerpts from Transcript of Shelter Care Hearing held on September 28,
17                         2011.

18            Exhibit 17 – Shelter Care Order entered on September 28, 2011. (PLA 000081-91).

19            Exhibit 18 – Order of Dependency entered on October 26, 2011. (PLA 000092-100).

20            Exhibit 19 – Rocky Stephenson notes regarding interview with Jennifer Graves. (Cox
                           01010074-75).
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              Exhibit 20 – Declaration of Jennifer Graves dated August 4, 2014.
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23   DECLARATION OF EVAN BARIAULT IN                                        Frey buck, p.s.
     SUPPORT OF PLAINTIFFS’ MOTION FOR                                 1200 FIFTH AVENUE, SUITE 1900
24   PARTIAL SUMMARY JUDGMENT - 2                                            SEATTLE, WA 98101
     {00145725;1}                                                     P: (206) 486-8000 F: (206) 902-9660
 1            Exhibit 21 – Email from Nancy LeMay to Forest Jacobson dated October 17, 2011. (Cox
                           01320860-862).
 2
              Exhibit 22 – Structured Decision Making Risk Assessment. (PLA 000554-557).
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              Exhibit 23 – Correspondence from Department of Labor and Industries.
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              Exhibit 24 – Stephenson notes regarding Child Pornography Images (Cox 01010255).
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              Exhibit 25 – Jacobson notes regarding Josh Powell’s visit with children’s therapist. (Cox
 6                         01010324-325).

 7            Exhibit 26 – Email from Julio Serrano to Forest Jacobson dated December 9, 2011.
                           (Cox/Powell Email Review 000184).
 8
              Exhibit 27 – Notes entered by Forest Jacobson regarding communications with Family
 9                         Preservations Services Staff about the boys’ statements and behavior. (Cox
                           01010188; 01010322).
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              Exhibit 28 – Declaration of Charles Cox dated August 1, 2014.
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              Exhibit 29 – Email from Forest Jacobson to FCRN, including Griffin-Hall dated
12                         September 29, 2011. (Cox 01010071).

13            Exhibit 30 – Excerpts from the Deposition of Elizabeth Griffin-Hall.

14            Exhibit 31 – Excerpts from the Deposition of Forest Jacobson.

15            Exhibit 32 – PCV Visit Report Form dated October 2, 2011. (Cox 01011180-183).

16            Exhibit 33 – PCV Visit Report Forms Dated October 9, 2011; October 16, 2011; October
                           23, 2011 and October 30, 2011. (Cox 01011184-197).
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              Exhibit 34 – PCV Visit Report Form dated November 27, 2011. (Cox 01011488-490).
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              Exhibit 35 – Individual Service and Safety Plans dated October 24, 2011 and January 5,
19                         2012. (PLA 000384; 000395; 000400; 000411; 000416; 000429-430;
                           000435; 000448-449).
20
              Exhibit 36 – Numerous notes entered by Forest Jacobson. (Cox 01010142-143; 01010160-
21                         62; 01010215; 01010315; 01010359-60; 01010366; 01010386).

22            Exhibit 37 – PCV Visit Report Form dated November 6, 2011. (Cox 01011491-493).

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     {00145725;1}                                                     P: (206) 486-8000 F: (206) 902-9660
 1            Exhibit 38 – Declaration of Forest Jacobson dated June 26, 2014.

 2            Exhibit 39 – Psychological Evaluation completed by Dr. Manley. (PLA 000181-202).

 3            Exhibit 40 – Note entered by Jacobson regarding her and Manley getting lost on way to
                           Josh Powell’s residence. (Cox 01010233-34).
 4
              Exhibit 41 – Email from Jacobson to Josh Powell dated November 1, 2011. (Cox
 5                         01010208).

 6            Exhibit 42 – Note entered by Stephenson regarding CPS investigation. (Cox 01010289-
                           90).
 7
              Exhibit 43 – Email from Jacobson to Serrano regarding increased visitation and notes
 8                         regarding same. (Cox 01010295-96).

 9            Exhibit 44 – Note entered by Jacobson on December 9, 2011. (Cox 01010324-25).

10            Exhibit 45 – Notes entered by Jacobson regarding concerns surrounding increased
                           visitation time. (Cox 01010147; 01010223; 01010267; 01010272; 01010300-
11                         01).

12            Exhibit 46 – Email from Tim Atkins to Jacobson. (Cox 01010410).

13            Exhibit 47 – Jacobson notes regarding Dr. Manley report. (Cox 01011856-57).

14            Exhibit 48 – Addendum to Manley Report. (PLA 000207-210).

15            Exhibit 49 – Email from Jacobson to Josh Powell dated January 4, 2012. (Cox 01010352).

16            Exhibit 50 – Declaration of Forest Jacobson dated January 17, 2012.

17            Exhibit 51 – February 1, 2012 Orders. (Cox 01011918-919; 01011921-922).

18            Exhibit 52 – Declaration of Jane Ramon without exhibits dated August 4, 2014.

19            Exhibit 53 – Elizabeth Griffin-Hall written statement dated February 5, 2012.

20            Exhibit 54 –   Autopsy Reports for C.J.P. and B.T.P. (PLA 003978-979; 003992-993).

21            Exhibit 55 –   Pierce County Sheriff Incident Report.

22            Exhibit 56 – Transcript of Emergency Recorded Calls.
23   DECLARATION OF EVAN BARIAULT IN                                      Frey buck, p.s.
     SUPPORT OF PLAINTIFFS’ MOTION FOR                                 1200 FIFTH AVENUE, SUITE 1900
24   PARTIAL SUMMARY JUDGMENT - 4                                            SEATTLE, WA 98101
     {00145725;1}                                                     P: (206) 486-8000 F: (206) 902-9660
 1            Exhibit 57 – Declaration of Anne Ganley dated July 1, 2014 with exhibits A-C.

 2            Exhibit 58 – Excerpts from the Deposition of Jane Wilson.

 3            Exhibit 59 – Excerpts from the Deposition of Julio Serrano.

 4            Exhibit 60 – Case note entered by Forest Jacobson. (Cox 01010388).

 5            I DECLARE UNDER PENALTY OF PERJURY OF THE LAWS OF THE UNITED
              STATES THAT THE FOREGOING IS TRUE AND CORRECT.
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 7                                                       /s/ Evan Bariault
                                                         Evan D. Bariault, WSBA #42867
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23   DECLARATION OF EVAN BARIAULT IN                                      Frey buck, p.s.
     SUPPORT OF PLAINTIFFS’ MOTION FOR                               1200 FIFTH AVENUE, SUITE 1900
24   PARTIAL SUMMARY JUDGMENT - 5                                          SEATTLE, WA 98101
     {00145725;1}                                                   P: (206) 486-8000 F: (206) 902-9660
 1                                         Certificate of Service

 2          I certify that on the date noted below I electronically filed this document entitled with the
     Clerk of the Court using the CM/ECF system which will send notification of such filing to the
 3   following persons:

 4
     Joseph M. Diaz, WSBA #16170                        James S. Rogers, WSBA #5335
 5   josephd@atg.wa.gov                                 jsr@jsrogerslaw.com
     Peter Helmberger, WSBA #23041                      Cheryl L. Snow, WSBA #26757
 6   peterh@atg.wa.gov                                  csnow@jsrogerslaw.com
     Jodie@atg.wa.gov                                   Elizabeth J. Donaldson, WSBA #45291
 7   Jennym@atg.wa.gov                                  liz@jsrogerslaw.com
     TORTacEF@atg.wa.gov                                Dawn@jsrogerslaw.com
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 9   Post Office Box 2317                               Seattle, WA 98101
     Tacoma, WA 98401                                   (206) 621-8525
10   (253) 593-5243                                     FAX: (206) 223-8224
            Attorneys for Defendant                            Attorneys for Plaintiffs
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12
              DATED this 7th day of June, 2015, at Seattle, Washington.
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                                                           /s/ Evan Bariault
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23   DECLARATION OF EVAN BARIAULT IN                                        Frey buck, p.s.
     SUPPORT OF PLAINTIFFS’ MOTION FOR                                   1200 FIFTH AVENUE, SUITE 1900
24   PARTIAL SUMMARY JUDGMENT - 6                                              SEATTLE, WA 98101
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